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                      EXHIBIT 1
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   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                             EASTERN DIVISION
   3
        UBIQUITI NETWORKS, INC.,                )
   4                                            )
                             Plaintiff,         )
   5                                            )
        -vs-                                    )   Case No. 18 C 5369
   6                                            )
        CAMBIUM NETWORKS, INC.,                 )
   7    CAMBIUM NETWORKS, LTD.,                 )
        BLIP NETWORKS, LLC, WINNCOM             )
   8    TECHNOLOGIES, INC., SAKID               )
        AHMED, and DMITRY MOISEEV,              )   Chicago, Illinois
   9                                            )   December 11, 2018
                             Defendants.        )   9:10 a.m.
 10
 11                          TRANSCRIPT OF PROCEEDINGS
                        BEFORE THE HONORABLE GARY FEINERMAN
 12
       APPEARANCES:
 13
       For the Plaintiff:            MORGAN LEWIS & BOCKIUS, LLP
 14                                  BY: MR. ROBERT C. BERTIN
                                     1111 Pennsylvania Avenue, N.W.
 15                                  Washington, DC 20004-2541
                                     (202) 373-6672
 16
 17                                  MORGAN LEWIS & BOCKIUS, LLP
                                     BY: MS. ELIZABETH B. HERRINGTON
 18                                  77 West Wacker Drive
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 19                                  Chicago, Illinois 60601
                                     (312) 324-1000
 20
 21
       Court Reporter:
 22
                         CHARLES R. ZANDI, CSR, RPR, FCRR
 23                          Official Court Reporter
                           United States District Court
 24                    219 South Dearborn Street, Room 2128
                             Chicago, Illinois 60604
 25                         Telephone: (312) 435-5387
                      email: Charles_zandi@ilnd.uscourts.gov
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   1   APPEARANCES: (Continued)
   2   For the Defendants:           BAKER BOTTS, LLP
                                     BY: MR. HOPKINS GUY
   3                                      MR. JON V. SWENSON
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   5                                 (650) 739-7510
   6                                 MICHAEL BEST & FRIEDRICH, LLP
                                     BY: MR. JAMES P. FIEWEGER
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                                     Suite 3200
   8                                 Chicago, Illinois 60606
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   1               MR. BERTIN: That's something in our code, but it's
   2   not in their code; but they commit copyright infringement
   3   every time they publicly perform or publicly display our user
   4   interface after breaching --
   5               THE COURT: And that's alleged in the complaint?
   6               MR. BERTIN: That's alleged in the complaint.
   7               THE COURT: And then in terms of the configuration
   8   code and the calibration code, this is something that you're
   9   saying that Cambium incorporated into its own code?
 10                MR. BERTIN: Yes. Yeah, they directly copied the
 11    configuration --
 12                THE COURT: So, we have the public performance of the
 13    proprietary user interface during the webinars or the
 14    seminars?
 15                MR. BERTIN: Right, right.
 16                THE COURT: And is there anything else that your
 17    complaint alleges that is publicly performed but not
 18    incorporated in the Cambium software?
 19                MR. BERTIN: In terms of the public performance
 20    rights, that's the main thing.
 21                THE COURT: Okay. So, that's one bucket, and there's
 22    one item in that bucket, which is proprietary user interface.
 23    The second bucket is your code that you say Cambium
 24    incorporates into its own code, but your code is not covered
 25    by the GPL. And you've given me two examples, the
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   1   configuration code and the calibration code. Yes?
   2               MR. BERTIN: Yes.
   3               THE COURT: Are there any other examples?
   4               MR. BERTIN: Yeah. Another example is the
   5   proprietary AirMAX protocol that's mentioned in the complaint,
   6   and then there's everything else. But those are specifically
   7   called out as proprietary portions.
   8               And again, every time that they, for example, use
   9   our code, our whole firmware after breaching the license
 10    agreement, they're -- they're making unauthorized use of our
 11    copyrighted code; and that's an act of copyright infringement.
 12                THE COURT: Okay.
 13                MR. BERTIN: But those are the four matters.
 14                THE COURT: If -- what is the proprietary user
 15    interface software? Could you go to the code and say, "Okay.
 16    These 1s and 0s are proprietary user interface"?
 17                MR. BERTIN: Yes.
 18                THE COURT: And can you go to your code and say,
 19    "Here are the 1s and 0s that's configuration code, and here's
 20    the 1s and 0s that are calibration code"?
 21                MR. BERTIN: Yes. They're the same.
 22                THE COURT: Do any of your claims depend on things
 23    that are done to your code that is derivative of the public
 24    use code?
 25                MR. BERTIN: None of our claims depend on that. We
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   1   those two buckets.
   2               THE COURT: Okay. Very good. Any final thoughts?
   3               MR. BERTIN: Yeah. I think it would be news to a lot
   4   of people in the world if information is not copyrightable.
   5   There are --
   6               THE COURT: Isn't it the expression of information
   7   and not the information itself that's copyrightable?
   8               MR. BERTIN: Well, information includes -- includes
   9   the expression; but, yes, expressions of information,
 10    information is copyrightable.
 11                THE COURT: No. You just said two completely
 12    different things.
 13                MR. BERTIN: Well, I'm agreeing with you that an
 14    expression of information is copyrightable.
 15                THE COURT: Okay.
 16                MR. BERTIN: Okay. But -- okay. In terms of -- in
 17    terms of this being a wide-open exercise, we've asserted --
 18    which it's not, we've asserted two very specific versions of
 19    Ubiquiti copyrights that are infringed, the registered
 20    versions 5.2.1 and 5.3. We've -- the registrations
 21    themselves, which are attached to the complaint, exclude
 22    license and materials, previous versions. And they're
 23    directed to new and revised computer code. It's not an
 24    open-ended exercise.
 25                And we've identified already several things. We've
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   1   identified configuration and calibration information, which is
   2   part of the firmware code, in our -- in our complaint. We've
   3   identified user interface in our complaint. We've identified
   4   the AirMAX radio. And we've identified that when they --
   5   we've identified multiple ways in which they've directly
   6   infringed our copyright. And we've also identified inducement
   7   and contributory infringement in here.
   8               But in terms of the copyright infringement, we've
   9   given several examples. So, they breached by
 10    reverse-engineering, by copying, by modifying, by changing or
 11    deleting the user interface. And all of these are laid out.
 12    I mean, we've locked into the complaint the provisions of the
 13    agreement, license agreement that they're violating.
 14                All use of our firmware after that is in violation of
 15    our copyright. They were supposed to destroy it and not use
 16    it. They haven't done that. In fact, they're using it --
 17    they're running around using it all over the place including
 18    in demonstrations. That's unauthorized use of our copyrighted
 19    code.
 20                So, we've identified multiple sections. We've
 21    identified public display and public performance. We've
 22    identified unauthorized use of our code by using the user
 23    interface. And we've identified how they've induced people to
 24    use their code, which copies portions of our code, deletes
 25    others, causes them to violate our license agreements, and
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   1               MS. HERRINGTON: January 28th.
   2               THE CLERK: 9:15 a.m.
   3               MR. BERTIN: That works for me.
   4               MS. HERRINGTON: That's a Monday, is that correct?
   5               THE CLERK: Yes.
   6               MS. HERRINGTON: Thank you.
   7               MR. GUY: Thank you, your Honor.
   8               MR. BERTIN: Thank you, your Honor.
   9               MS. HERRINGTON: Thank you, your Honor.
 10                THE COURT: Thanks.
 11       (Which were all the proceedings heard.)
 12                                     CERTIFICATE
 13       I certify that the foregoing is a correct transcript from
 14    the record of proceedings in the above-entitled matter.
 15
 16    /s/Charles R. Zandi                      December 12, 2018
 17    Charles R. Zandi                         Date
       Official Court Reporter
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